           Case 5:20-cr-00158-G Document 34 Filed 03/24/21 Page 1 of 2




                  UNITED STATES DISTRICT COURT FOR THE
                     WESTERN DISTRICT OF OKLAHOMA

UNITED STATES OF AMERICA,                  )
                                           )
                     Plaintiff,            )
                                           )
v.                                         )              CR-20-158-G
                                           )
JUSTIN MICHAEL LULLA                       )
                                           )
                     Defendant.            )

                                          ORDER

       In accordance with the Due Process Protections Act,1 counsel are reminded of the

disclosure obligations of the prosecutor under Brady v. Maryland, 373 U.S. 83 (1963), and

its progeny. In particular, “the suppression by the prosecution of evidence favorable to an

accused upon request violates due process where the evidence is material either to guilt or

to punishment, irrespective of the good faith or bad faith of the prosecution.” Brady, 373

U.S. at 87. “[E]vidence is ‘material’ within the meaning of Brady when there is a

reasonable probability that, had the evidence been disclosed, the result of the proceeding

would have been different.” Cone v. Bell, 556 U.S. 449, 469–470 (2009). A “reasonable

probability” does not mean that the defendant “would more likely than not have received

a different verdict with the evidence,” only that the likelihood of a different result is great


1
  The Due Process Protections Act, PL 116-182, [S 1380], effective October 21, 2020,
requires that the parties be informed regarding an amendment to Federal Rule of Criminal
Procedure 5. By this legislation, subsection (f) of the Rule has been redesignated as
subsection (g), with new subsection (f) hereinafter designated as “REMINDER OF
PROSECUTORIAL OBLIGATION.” The amendment serves to remind prosecutors of
their obligations to disclose exculpatory evidence pursuant to Brady v. Maryland, 373 U.S.
83 (1963), and its progeny.
          Case 5:20-cr-00158-G Document 34 Filed 03/24/21 Page 2 of 2




enough to “undermine[ ] confidence in the outcome of the trial.” Smith v. Cain, 565 U.S.

73, 75 (2012).

      Possible consequences for a violation of this Order may include, but are not limited

to, exclusion of evidence at trial, a finding of contempt, granting of a continuance, and

dismissal of the charges with prejudice.

      IT IS SO ORDERED this 24th day of March, 2020.
